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                       UNITED STATES DISTRICT COURT

                  CENTRAL DISTRICT OF MASSACHUSETTS

                                 EASTERN DIVISION



KATE WEISSMAN,                               CIVIL ACTION NO. 1:19-cv-10580
                                             Consolidated with 1:19-cv-12224; and
                   Plaintiff,                Consolidated with 1:19-cv-12239
      v.                                     CLASS ACTION
UNITEDHEALTHCARE INSURANCE                   CONSOLIDATED FIRST AMENDED
COMPANY, UNITED HEALTHCARE                   COMPLAINT
SERVICE, LLC, AND INTERPUBLIC
GROUP OF COMPANIES, INC. CHOICE
PLUS PLAN,

                   Defendants.

RICHARD COLE, on behalf of himself and       CIVIL ACTION NO. 1:19-cv-12224
others similarly situated,

                   Plaintiff,

      v.

UNITEDHEALTHCARE INSURANCE
COMPANY,

                   Defendant.

ZACHARY RIZZUTO,                             CIVIL ACTION NO. 1:19-cv-12239

                   Plaintiff,

      v.

UNITEDHEALTHCARE INSURANCE
COMPANY, UNITEDHEALTHCARE
SERVICES, INC., and THE HERTZ
CUSTOM BENEFIT PROGRAM,

                   Defendants.




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       Plaintiffs Kate Weissman, Richard Cole, and Zachary Rizzuto bring this action as

individuals and on behalf of all other similarly situated (“the PBRT Class Members”) against

Defendants UnitedHealthcare Insurance Company and UnitedHealthcare Services, LLC

(collectively “UnitedHealthcare”), and Interpublic Group of Companies, Inc. Choice Plus Plan and

The Hertz Custom Benefit Program (collectively “the Plans”), pursuant to the Employee

Retirement Income Security Act of 1974, 29 U.S.C. § 1001 et seq. (“ERISA”) and Rule 23 of the

Federal Rules of Civil Procedure, and allege as follows:

                                 NATURE OF THE ACTION

       1.      Plaintiffs bring this action on behalf of themselves and those similarly situated to

challenge UnitedHealthcare’s deceptive and fraudulent misrepresentations to its ERISA plan

participants and beneficiaries that it would deliver access to covered, medically necessary

healthcare for the treatment of cancer. Further, Plaintiffs bring this action to challenge

UnitedHealthcare’s deceptive and unfair administration of its ERISA plans, including its prior

authorization and utilization review process for plan members seeking Proton Beam Radiation

Therapy (“PBRT”), and its adjudication and administration of claims for PBRT made under

ERISA plans underwritten and administered by UnitedHealthcare.

       2.      UnitedHealthcare has developed and uniformly applies an arbitrary internal

coverage medical policy to purposefully and arbitrarily narrow and restrict the scope of coverage

for PBRT in a manner that is inconsistent with generally accepted standards of care.

UnitedHealthcare applies this uniform medical policy to deny PBRT requests as experimental,

investigational, or unproven, despite UnitedHealthcare’s institutional knowledge of the

overwhelming, long-standing and decades-old recognition by the medical community that PBRT

is an established, effective and medically appropriate form of treatment for cancer.



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       3.       Instead of acting solely in the interests of the participants and beneficiaries of its

health insurance plans, upon information and belief, UnitedHealthcare denied coverage for PBRT

to treat cancer because, on average, PBRT may be more expensive than traditional Intensity

Modulated Radiotherapy (“IMRT”) or other treatments, essentially placing profits over patient

health and well-being.

                                          THE PARTIES

       4.       Plaintiff Kate Weissman is a citizen of the Commonwealth of Massachusetts and

resides in Suffolk County. Ms. Weissman is and was at all relevant times a participant in a group

health plan governed by ERISA that is provided and funded by Ms. Weissman’s employer, and

administered by UnitedHealthcare, pursuant to which Ms. Weissman is entitled to health care

benefits.

       5.       Plaintiff Richard Cole is a citizen of the State of Florida who resides in Miami-

Dade County. Mr. Cole was at all relevant times a participant in a group health plan governed by

ERISA that was sponsored by Mr. Cole’s employer, and administered by UnitedHealthcare

pursuant to which Mr. Cole was entitled to health care benefits.

       6.       Plaintiff Zachary Rizzuto is a citizen of the State of Florida and resides in Lee

County. Mr. Rizzuto was at all relevant times a participant in a group health plan governed by

ERISA that was provided and funded by Mr. Rizzuto’s employer, and administered by

UnitedHealthcare, pursuant to which Mr. Rizzuto was entitled to health care benefits.

       7.       Defendant UnitedHealthcare Insurance Company is and was at all relevant times a

corporation duly organized and existing under the laws of the State of Connecticut, with its

principal place of business located in Connecticut. UnitedHealthcare Insurance Company is

authorized to conduct business as a health care plan provider and insurer, and transacts, and is



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transacting, the business of providing, administering and insuring health plans to consumers in this

judicial district.

        8.       Defendant UnitedHealthcare Service, LLC is and was at all relevant times a

corporation duly organized and existing under the laws of the State of Delaware, with its principal

place of business located in Wilmington, Delaware. UnitedHealthcare Service, LLC is authorized

to conduct business as a health care plan provider and insurer, and transacts, is transacting, and is

in the business of providing, administering and insuring health plans to consumers in this judicial

district.

        9.       Defendant Interpublic Group of Companies, Inc. Choice Plus Plan (“the Interpublic

Plan”) is a self-funded group health plan organized and regulated under ERISA. The Plan

Administrator is located in New York, New York. While the Interpublic Plan has delegated

discretionary authority to UnitedHealthcare to decide whether a treatment or supply is covered and

determine the amount of the eligible expense, the Interpublic Plan simply funds the payment of

benefits.

        10.      Defendant The Hertz Custom Benefit Program (“the Hertz Plan”) is a self-funded

group health plan organized and regulated under ERISA. The Plan Administrator is located in

Estero, Florida. While the Hertz Plan has delegated discretionary authority to UnitedHealthcare

to decide whether a treatment or supply is covered and the amount of the eligible expense, the

Hertz Plan simply funds the payment of benefits.

                                  JURISDICTION AND VENUE

        11.      This action is brought under 29 U.S.C. §§ 1132(a), (e), (f), and (g) of ERISA, as it

involves claims for breach of fiduciary duty and denial of benefits owed under employee benefit




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health plans regulated and governed under ERISA. Jurisdiction is predicated under these Code

sections as well as 28 U.S.C § 1331, as this action involves a federal question.

       12.     Ms. Weissman’s claims in this action were specifically administered in this judicial

district, and Ms. Weissman resides or may be found in this judicial district, the Eastern District of

Massachusetts. Thus, venue is proper in this judicial district pursuant to 29 U.S.C. § 1132(e)(2)

(special venue rules applicable to ERISA).

       13.     Mr. Cole filed his class action on April 3, 2019, in the U.S. District Court for the

Southern District of Florida, the district in which Mr. Cole resides, where UnitedHealthcare denied

Mr. Cole’s PBRT pre-authorization request for coverage, and where he received PBRT treatment,

with successful results.

       14.     On October 28, 2019, the Honorable Darrin P. Gayles granted UnitedHealthcare’s

motion to transfer (Cole, No. 1:19-cv-21258 (S.D. Fla.), ECF No. 28).

       15.     On April 8, 2020, this Court ordered the consolidation of Mr. Cole’s action, Cole

v. UnitedHealthcare Insurance Company, No. 1:19-cv-12224 (D. Mass), with Ms. Weissman’s

action pursuant to Fed. R. Civ. P. 42(a), and permitted Ms. Weissman to file an amended complaint

by May 15, 2020, adding Mr. Cole as an additional putative class member (ECF No. 39).

       16.     Mr. Rizzuto filed his class action on September 19, 2019, in the U.S. District Court

for the Middle District of Florida, the district in which Mr. Rizzuto resides and where

UnitedHealthcare denied Mr. Rizzuto’s PBRT pre-authorization request for coverage.

       17.     On October 28, 2019, the Honorable Sheri Polster Chappell granted

UnitedHealthcare’s motion to transfer (Rizzuto, No. 2:19-cv-00691 (M.D. Fla.), ECF No. 30).

       18.     On April 13, 2020, this Court ordered the consolidation of Mr. Rizzuto’s action,

Rizzuto v. UnitedHealthcare Insurance Company, et al., No. 1:19-cv-12239 (D. Mass), with Ms.



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Weissman’s action pursuant to Fed. R. Civ. P. 42(a), and permitted Ms. Weissman to file an

amended complaint by May 15, 2020, adding Mr. Rizzuto as an additional putative class member

(ECF No. 39).

                                  FACTUAL ALLEGATIONS

                UnitedHealthcare Acts as a Fiduciary for its ERISA Plans

        19.     The majority of the health plans underwritten and administered by

UnitedHealthcare are employee welfare benefit plans sponsored by private-sector employers and

governed by ERISA (“ERISA plans”).

        20.     During all relevant times, UnitedHealthcare acted as a fiduciary with respect to its

administration of ERISA plans. In particular, UnitedHealthcare interpreted and applied ERISA

plan terms, made coverage and benefit decisions under the ERISA plans within its sole discretion,

and provided payment under the ERISA plans to participants/beneficiaries and their providers.

Accordingly, UnitedHealthcare was required to comply with the requirements ERISA imposes on

fiduciaries.

        21.     The health insurance plans administered by UnitedHealthcare are either fully

insured or self-funded. With respect to fully insured plans, UnitedHealthcare both administers the

plan by making all benefit determinations and pays the benefits out of its own assets. With respect

to self-funded plans, UnitedHealthcare administers the plan, but the underlying plan sponsor or

employer is ultimately responsible for paying for the promised healthcare benefits.          When

processing benefits for a self-funded plan, UnitedHealthcare makes all benefit determinations and

authorizes benefit checks to be issued out of bank accounts that UnitedHealthcare controls on

behalf of the sponsoring employers. Periodically, UnitedHealthcare will notify the sponsors of the

self-funded plans of the need to replenish their accounts so that benefits can be paid.



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UnitedHealthcare nevertheless continues to control these accounts and is fully responsible for

processing the insurance claims and making the determination whether to issue a benefits payment

check from these accounts.

       22.     UnitedHealthcare is a proper party for Plaintiffs and the putative PBRT Class to

sue regardless of whether a particular ERISA plan is fully insured or self-funded, because

UnitedHealthcare, not the underlying plan sponsor or employer, made and continues to make all

the relevant decisions and exercised and continues to exercise the authority to issue benefit

payment checks under the ERISA plans.

       23.     Plaintiffs and each of the putative PBRT Class Members have been denied access

to and coverage for PBRT by UnitedHealthcare, and therefore sue UnitedHealthcare for denial of

plan benefits and breach of fiduciary duty.

               The Plans

               1.      The Interpublic Group of Companies, Inc. Choice Plus Plan

       24.     Plaintiff Kate Weissman is and was at all relevant times a beneficiary under the

Interpublic Plan. The Interpublic Plan is a self-funded plan administered by the Plan Administrator,

UnitedHealthcare, to whom the Plan Sponsor “has delegated to UnitedHealthcare the discretion

and authority to decide whether a treatment or supply is a Covered Health Service and how the

Eligible Expenses will be determined and otherwise covered under the Plan.”

       25.     Beneficiaries under the Interpublic Plan have “the freedom to choose the Physician

or health care professional [they] prefer,” and they “can choose to receive Network Benefits or

non-Network Benefits.

       26.     The Interpublic Plan “pays Benefits for therapeutic treatments …, including …

intravenous chemotherapy or other intravenous infusion therapy and radiation oncology.



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However, the Interpublic Plan limits coverage for “Covered Health Care Services” to those health

care services that UnitedHealthcare deems to be “Medically Necessary.”

       27.     The Interpublic Plan defines “Medically Necessary” as:

               Medically Necessary - health care services provided for the purpose
               of preventing, evaluating, diagnosing or treating a Sickness, Injury,
               Mental Illness, substance-related and addictive disorders, condition,
               disease or its symptoms, that are all of the following as determined
               by the Claims Administrator or its designee, within the Claims
               Administrator’s sole discretion. The services must be:
                   • In accordance with Generally Accepted Standards of
                      Medical Practice.
                   • Clinically appropriate, in terms of type, frequency, extent,
                      site and duration, and considered effective for your Sickness,
                      Injury, Mental Illness, substance-related and addictive
                      disorders, disease or its symptoms.
                   • Not mainly for your convenience or that of your doctor or
                      other health care provider.
                   • Not more costly than an alternative drug, service(s) or supply
                      that is at least as likely to produce equivalent therapeutic or
                      diagnostic results as to the diagnosis or treatment of your
                      Sickness, Injury, disease or symptoms.

       28.     In addition, the Interpublic Plan includes a list of “Exclusions,” which are deemed

to be services that are not covered under the Interpublic Plan. One such Exclusion is entitled

“Experimental or Investigational or Unproven Services” (the “Experimental Exclusion”), which is

defined as follows:

               Experimental or Investigational Services - medical, surgical,
               diagnostic, psychiatric, mental health, substance-related and
               addictive disorders or other health care services, technologies,
               supplies, treatments, procedures, drug therapies, medications or
               devices that, at the time the Claims Administrator and the Plan
               Administrator make a determination regarding coverage in a
               particular case, are determined to be any of the following:
                    Not approved by the U.S. Food and Drug Administration
                       (FDA) to be lawfully marketed for the proposed use and not
                       identified in the American Hospital Formulary Service or
                       the United States Pharmacopoeia Dispensing Information as
                       appropriate for the proposed use.
                    Subject to review and approval by any institutional review

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                        board for the proposed use. (Devices which are FDA
                        approved under the Humanitarian Use Device exemption are
                        not considered to be Experimental or Investigational.)
                       The subject of an ongoing Clinical Trial that meets the
                        definition of a Phase I, II or III Clinical Trial set forth in the
                        FDA regulations, regardless of whether the trial is actually
                        subject to FDA oversight.

(emphasis added.)

               2.       The Cole, Scott & Kissane, P.A. Plan

       29.     Plaintiff Richard Cole is and was at all relevant times covered by a health

insurance plan issued on behalf of his employer, Cole, Scott & Kissane, P.A. (the “CSK

Plan”). The CSK Plan is a fully insured plan, meaning that UnitedHealthcare both administers the

CSK Plan by making all benefit determinations and pays the benefits out of its own assets.

UnitedHealthcare maintains control over the decision-making process and is ultimately

responsible for authorizing the issuance of checks for paying benefits.

       30.     As a participant in the CSK Plan, Mr. Cole was issued the Certificate of Coverage

for the Health Savings Account Plan AHP3 of Cole, Scott & Kissane, P.A. (“Benefit Handbook”).

The Benefit Handbook, which is a plan document governing Plaintiff’s insurance that details the

terms and conditions of the Employer Plan, defines “Covered Health Care Service(s)” as “health

care services ... which [UnitedHealthcare] determine[s] to be ... Medically necessary.”

       31.     The Benefit Handbook defines “Medically necessary” as “health care services

provided for the purpose of preventing, evaluating, diagnosing or treating a Sickness, Injury,

Mental Illness, substance-related and addictive disorders, condition, disease or its symptoms….”

       32.     In addition, the Benefit Handbook includes a list of “Exclusions,” which are

deemed to be services that are not covered under the Employer Plan. One such Exclusion is




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entitled “Experimental or Investigational or Unproven Services” (the “Experimental Exclusion”).

The Experimental Exclusion states as follows:

               [M]edical, surgical, diagnostic, psychiatric, mental health,
               substance related and addictive disorders or other health care
               services, technologies, supplies, treatments, procedures, drug
               therapies, medications or devices that, at the time
               [UnitedHealthcare] make[s] a determination regarding coverage in
               a particular case, are determined to be any of the following:
                    Not approved by the US. Food and Drug Administration
                       (FDA) to be lawfully marketed for the proposed use and not
                       identified in the American Hospital Formula1y Service or
                       the United States Pharmacopeia Dispensing Information as
                       appropriate for the proposed use.
                    Subject to review and approval by any institutional review
                       board for the proposed use. (Devices which are FDA
                       approved under the Humanitarian Use Device exemption are
                       not Experimental or Investigational.)
                    The subject of an ongoing clinical trial that meets the
                       definition of a Phase I, II or III clinical trial set forth in the
                       FDA regulations, regardless of whether the trial is actually
                       subject to FDA oversight.

(emphasis in original).

               3.      The Hertz Custom Benefit Program

       33.     Plaintiff Zachary Rizzuto is and was at all relevant times a beneficiary under The

Hertz Custom Benefit Program (“the Hertz Plan”).             The Hertz Plan is a self-funded plan

administered by the Plan Administrator, UnitedHealthcare, to whom the Plan Sponsor has

delegated to UnitedHealthcare the discretion and authority “to provide services in conjunction with

claims review, processing and payment for [the Hertz Plan].”

       34.     The Hertz Plan pays benefits for therapeutic treatments, including “Chemotherapy

and/or radiation therapy.” However, the Hertz Plan limits coverage for “Covered Health Care

Services” to those health care services that UnitedHealthcare deems to be “Medically Necessary.”




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       35.      The Hertz Plan defines “Medically Necessary” as:

                Medically Necessary – healthcare services provided for the purpose
                of preventing, evaluating, diagnosing or treating a Sickness, Injury,
                Mental Illness, substance use disorder, condition, disease or its
                symptoms, that are all of the following as determined by
                UnitedHealthcare or its designee, within UnitedHealthcare's sole
                discretion. The services must be:

                   •   In accordance with Generally Accepted Standards of
                       Medical Practice;
                   •   Clinically appropriate, in terms of type, frequency, extent,
                       site and duration, and considered effective for your Sickness,
                       Injury, Mental Illness, substance use disorder disease or its
                       symptoms;
                   •   Not mainly for your convenience or that of your doctor or
                       other health care provider; and
                   •   Not more costly than an alternative drug, service(s) or supply
                       that is at least as likely to produce equivalent therapeutic or
                       diagnostic results as to the diagnosis or treatment of your
                       Sickness, Injury, disease or symptoms.

                Generally Accepted Standards of Medical Practice are standards that
                are based on credible scientific evidence published in peer-reviewed
                medical literature generally recognized by the relevant medical
                community, relying primarily on controlled Clinical Trials, or, if not
                available, observational studies from more than one institution that
                suggest a causal relationship between the service or treatment and
                health outcomes.

       36.      In addition, the Hertz Plan includes a list of “Exclusions,” which are deemed to be

services that are not covered under the Hertz Plan. One such Exclusion is entitled “Experimental

or Investigational or Unproven Services” (the “Experimental Exclusion”), which is defined as

follows:

                Experimental and Investigational Services – medical, surgical,
                diagnostic, psychiatric, substance abuse or other health care
                services, technologies, supplies, treatments, procedures, drug
                therapies or devices that, at the time UnitedHealthcare and Hertz
                make a determination regarding coverage in a particular case, are
                determined to be any of the following:
                     Not approved by the U.S. Food and Drug Administration
                        (FDA) to be lawfully marketed for the proposed use and not
                        identified in the American Hospital Formulary Service or

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                           the United States Pharmacopoeia Dispensing Information as
                           appropriate for the proposed use,
                          Subject to review and approval by any institutional review
                           board for the proposed use, or
                          The subject of an ongoing Clinical Trial that meets the
                           definition of a Phase 1, 2 or 3 Clinical Trial set forth in the
                           FDA regulations, regardless of whether the trial is actually
                           subject to FDA oversight.

(Emphasis added.)

                  4.       The PBRT Class Plans

       37.        At all times relevant, Plaintiffs Kate Weissman, Richard Cole, and Zachary Rizzuto

and the members of the PBRT Class were covered by a health policy or plan, either self-funded or

fully-insured, administered and/or insured by UnitedHealthcare (the “Class Plans”). The Class

Plans, upon information and belief, contain the same material terms as the Plans specifically

alleged herein.

       38.        In particular, the definition of “experimental and investigational” services or

treatment in UnitedHealthcare’s health insurance policies at all relevant times has been

substantially similar to the definition in the plans described above, and is interpreted by

UnitedHealthcare as having the same meaning as comparable exclusions included in the

UnitedHealthcare plans applicable to all Class Members.

                  Proton Beam Radiation Therapy

       39.        Contrary to UnitedHealthcare’s systematic denial of PBRT as “experimental or

investigational or unproven,” PBRT is an established form of treatment that is widely accepted by

physicians, government agencies, and many insurers and other payers, including Medicare and

Medicaid (which by statute do not cover investigational or experimental services).

       40.        PBRT is a procedure that uses protons to deliver a curative radiation dose to a

tumor, while reducing doses to healthy tissues and organs, which results in fewer complications


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and side effects than traditional IMRT. With PBRT, protons deposit their energy over a very small

area called the “Bragg peak.” The Bragg peak can be used to target high doses of proton beams

to a tumor, while doing less damage to normal tissues in front of and behind the tumor. Proton

beams enable patients to tolerate higher total doses of radiotherapy compared with photons, which

are used for traditional IMRT. The beam used in PBRT can be adjusted and shaped to match the

size and shape of the cancerous tissue to be destroyed, while not killing healthy tissue beyond a

pre-determined scope and depth. The cancer cell then begins to break itself down through a

process known as apoptosis or programmed cell death.

       41.     The invention of PBRT is credited to Physicist Robert Wilson, who first described

it theoretically in 1946. By the 1950’s, some health care facilities were using PBRT to treat certain

types of cancers. The Food and Drug Administration (“FDA”) approved PBRT in 1988 for the

treatment of cancer. The National Association for Proton Therapy, Alliance for Proton Therapy

Access and other nationally-recognized medical organizations, and numerous meticulous peer-

reviewed studies have validated the safety and effectiveness of PBRT. In addition to Plaintiffs’

world-renowned treating providers, many other respected cancer facilities and providers, including

Baptist Hospital’s Miami Cancer Institute, MD Anderson Cancer Center, Loma Linda University,

University of Florida, University of Maryland, Northwestern University, Mayo Clinic, Emory

University, Case Western Reserve University, Washington University in St. Louis, University of

Washington, New York Proton Center, and the Texas Center for Proton Therapy recommend and

use PBRT on a regular basis.

               UnitedHealthcare’s PBRT Medical Policy No. T0132

       42.     UnitedHealthcare drafted and implemented the UnitedHealthcare PBRT Medical

Policy No. T0132 (the “PBRT Policy”), based on demonstrably unreliable and outdated medical



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evidence, purposefully ignoring updated and contemporary evidence definitively proving the

medical efficacy of PBRT. UnitedHealthcare applies and employs the PBRT Policy to deem PBRT

experimental or investigational, and therefore not covered for a variety of cancers, including

cervical cancer, prostate cancer, and cancerous brain tumors, in persons that are 19 years of age or

older.

         43.    As evidence of the arbitrary and capricious nature of UnitedHealthcare’s denial of

PBRT for treatment of cancer, the PBRT Policy maintains that PBRT is experimental or

investigational, and therefore not covered, for persons 19 years of age or older, while

simultaneously finding PBRT to be non-experimental and not investigational (i.e., proven safe and

effective), and therefore always covered for persons under 19 years of age. There are no medical

studies that support a conclusion that PBRT would be a proven, safe and effective treatment for

the same cancer in one age group, but not the other.

         44.    As further evidence of the arbitrary and capricious nature of UnitedHealthcare’s

denial of PBRT for the treatment of cancer, the PBRT Policy either ignores the conclusions of

specialty-society and medical community coverage guidelines, such as the American Society for

Radiation Oncology (ASTRO) and the National Comprehensive Cancer Network, which provides

a better barometer for the relevant medical community’s recognition of PBRT as falling within

generally accepted standards of medical practice for the treatment of cancer. Moreover, the PBRT

Policy relies on outdated and unreliable scientific studies that in many instances are studies

published several years prior to the requests for PBRT being adjudicated. This even though the

scientific literature relating to PBRT is constantly updated on an annual basis across numerous

publications.




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          45.   On January 1, 2019, UnitedHealthcare changed its PBRT policy (the “New 2019

Policy”). The new policy acknowledges that PBRT is, in fact, not experimental for the treatment

of prostate cancer. Under the New 2019 Policy, a person’s request for authorization of PBRT to

treat prostate cancer should be determined on a case-by-case basis as opposed to a blanket denial

based on the PBRT Policy.

          46.   The revision and driving force behind the advent of the New 2019 Policy on

January 1, 2019, appears entirely arbitrary from a scientific standpoint, as there were no significant

clinical developments in PBRT cited in the New 2019 Policy.

          47.   Despite the change in policy, upon information and belief, UnitedHealthcare has

continued to deny coverage of PBRT for the treatment of prostate cancer citing the old PBRT

Policy.

          48.   UnitedHealthcare’s breaches of its fiduciary duties unfairly forces its insureds, like

Plaintiffs, to choose between receiving traditional therapy, like IMRT, which UnitedHealthcare

will cover, but will also increase the risk of comorbidities 1, or paying out-of-pocket to receive the

PBRT recommended by board certified oncologists that will spare healthy tissue and organs.

Plaintiffs know that there are those less fortunate than them who cannot afford to have such a

choice, and for this reason they bring this action on behalf of the PBRT Class Members as well.

                Inapplicability of the Experimental Exclusion

          49.   The denials at issue relate to UnitedHealthcare’s Experimental Exclusion and its

application of the UnitedHealthcare PBRT Policy.




1
 “Comorbidity” refers to the simultaneous presence of two chronic diseases or conditions in a
patient.
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       50.     The Experimental Exclusion’s first criterion – FDA approval – is inapplicable. As

UnitedHealthcare acknowledges in its New 2019 Policy, radiation therapy is a procedure, and

therefore, is not subject to FDA regulation.

       51.     The accelerators and other equipment used to generate and deliver PBRT, on the

other hand, are regulated and approved by the FDA. On February 22, 1988, the FDA approved

the Proton Therapy System, and designated it as a Class II Device for radiological treatment. This

classification was codified at 21 C.F.R. § 892.5050, and describes the Proton Therapy System as

a “device that produces by acceleration high energy charged particles (e.g., electrons and protons)

intended for use in radiation therapy.” Since at least February 22, 1988, PBRT no longer fit within

the Plans’ Experimental Exclusion.

       52.     The last two criteria under the Experimental Exclusion would not serve to exclude

treatment for cancer. Clinical trials of PBRT may be ongoing but only to refine PBRT’s use or to

expand its use to treat other conditions, such as seizures. PBRT has long been recognized by the

medical community as an established, medically appropriate treatment for the treatment of cancer,

including cervical cancer, prostate cancer, and cancerous brain tumors.

       53.     PBRT also cannot be deemed “Unproven Services,” defined in the Plans The

definition states that unproven services are: “services ... that are determined not to be effective for

treatment of the medical condition and/or not to have a beneficial effect on health outcomes due

to insufficient and inadequate clinical evidence from well-conducted randomized controlled trials

or cohort studies in the prevailing published peer-reviewed medical literature.”

       54.     PBRT is not a “new” technology; it has been around and well-accepted for 30 years.

PBRT has been determined to be “effective for treatment” of prostate cancer, and its use is entirely

consistent with prevailing medical research, based on numerous “controlled trials or cohort studies



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in the prevailing published peer reviewed medical literature.” UnitedHealthcare persistently

ignored such trials and studies when applying the Experimental Exclusion to deny coverage for

PBRT to Plaintiffs and the PBRT Class.

          55.   UnitedHealthcare has since recognized that PBRT is not experimental “for treating

prostate cancer.” There were no clinical developments in the field of PBRT from the time

UnitedHealthcare denied Mr. Cole’s request for pre-authorization of PBRT in May 2018 to

January 2019, when the New 2019 Policy took effect, and UnitedHealthcare deemed PBRT to be

a proven, safe, and effective treatment for prostate cancer in persons 19 years of age or older.

                Despite its Uniform Policy to Deny the Claims of its Beneficiaries,
                UnitedHealthcare’s Public Initiatives Support PBRT for the Treatment of
                Cancer

          56.   In 2015, ProHEALTH Proton Center Management, LLC (“ProHealth”), an affiliate

of UnitedHealthcare, received approval from the New York Public Health and Health Planning

Council to construct and operate the New York Proton Center in Harlem, New York.

          57.   As part of the agreement with the State of New York, ProHealth pledged

$15,359,260 for the New York Proton Center and became a 33 percent member in the management

company that provides equipment and day-to-day administrative/nonclinical support for the

project.

          58.   The New York Proton Center's website acknowledges their partnership with

ProHealth to make PBRT more accessible to patients seeking cancer treatment, including prostate

cancer.

          59.   Thus, during the time that the PBRT Policy was in effect, UnitedHealthcare

simultaneously presented to the New York Public Health and Health Planning Council that PBRT




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was an appropriate treatment for cancer while denying coverage for such treatment to its plan

participants and beneficiaries.

               The Wrongful Denials & Administrative Appeals

                1.     Kate Weissman

       60.     Ms. Weissman was born on July 6, 1985, the younger of two daughters to Bob and

Cindy Weissman. She attended Dickinson College in Carlisle, Pennsylvania, where she played

women’s lacrosse and met Matt Eonta, a pitcher on the baseball team, with whom she graduated

in 2007 and married on June 22, 2013.

       61.     In October 2015, at the age of 30, Ms. Weissman was diagnosed with Stage IIB

squamous cell carcinoma of the cervix. She underwent traditional treatment including chemo

radiation of weekly cisplatin, pelvic radiation, and tandem and ovoid brachytherapy that she

completed in December, 2015, with complete clinical response.

       62.     Unfortunately, a PET/CT Scan, obtained on March 8, 2016, revealed two small

lymph nodes at the edge of the prior treatment field in the para-aortic region, which biopsy

confirmed was squamous cell carcinoma. Ms. Weissman underwent laparoscopic resection of the

two lymph nodes on April 6, 2016.

       63.     Ms. Weissman was referred to Andrea L. Russo, M.D., Assistant Professor,

Harvard Medical School, Department of Radiation Oncology, Massachusetts General Hospital

(“MGH”) for consideration of PBRT. Dr. Russo, along with Ms. Weissman’s multi-disciplinary

care team at Dana-Farber Cancer Institute (“DFCI”), determined that adjuvant radiotherapy with

weekly cisplatin to the para-aortic lymph nodes, matched inferiorly to the top of her prior pelvic

radiation field, would be in Ms. Weissman’s best interest. Ms. Weissman’s doctors concluded that

PBRT, for at least a portion of the treatment course, was essential for the following reasons:



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             a.      The para-aortic lymph nodes lied directly between both kidneys and posterior

                     to the small bowel;

             b.      An IMRT plan but could not meet the bowel metrics and, therefore, Ms.

                     Weissman was at significant risk of bowel toxicity with IMRT therapy;

             c.      The bowel metrics could be substantially reduced using PBRT;

             d.      An IMRT plan but could not meet the bone marrow metrics, which was

                     extremely important since Ms. Weissman had received prior cisplatin and

                     would receive additional cisplatin as a radio-sensitizing agent during treatment;

             e.      Published data has shown that PBRT can significantly reduce the dose to bone

                     marrow, bladder, and small bowel compared to IMRT in patients with

                     gynecologic cancer; and

             f.      A study looking at IMRT to treat para-aortic recurrences concluded there was

                     still a 19% risk of late GI toxicity, which would be significantly reduced with

                     PBRT since the entire bowel anterior to the treatment field would be spared.

       64.        Pursuant to the terms and conditions of the Interpublic Plan, Ms. Weissman’s health

care providers contacted UnitedHealthcare and requested prior authorization for Ms. Weissman’s

treatment plan, including PBRT. In a letter dated April 6, 2016, UnitedHealthcare denied coverage

for Ms. Weissman’s PBRT.

       65.        UnitedHealthcare’s denial was based upon the PBRT Policy and the Experimental

Exclusion. Quite clearly from the letter, UnitedHealthcare’s medical director simply looked at

Ms. Weissman’s diagnosis of cervical cancer and then looked at the “not indicated” listed in the

PBRT Policy and concluded: “You have cervix cancer. We looked at your health plan medical




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criteria for radiation therapy. This treatment does not meet criteria for coverage. It has not been

proven that this treatment is more effective than standard radiation for your medical condition.”

       66.     A copy of the denial letter was mailed to Ms. Weissman and to Dr. Russo at MGH.

Ms. Weissman and Dr. Russo appealed UnitedHealthcare’s denial pursuant to the terms of the

Interpublic Plan.

       67.     In a letter dated April 12, 2016, UnitedHealthcare expressed its decision to uphold

its denial of coverage following review of the appeal by a UnitedHealthcare medical director,

board certified in medical oncology, who determined that based on the PBRT Policy, “the

requested service has not been shown to be safe and effective for [Ms. Weissman’s] condition.”

Coverage was denied pursuant to the Experimental Exclusion. However, UnitedHealthcare stated

that it was sending Ms. Weissman’s case to an outside specialist in radiation oncology in order to

get an expert opinion. UnitedHealthcare was certain to remind Ms. Weissman in its letter that she

would be “responsible for all costs related to [the PBRT]” pending the review.

       68.     It should be noted that out of the 103 articles referenced in the applicable December

2015 version of the PBRT Policy, only one referenced squamous cell carcinomas and only one

referenced cancers of the cervix. The first of these articles was published in 2010, five years prior

to Ms. Weissman’s request for PBRT. The second of these articles was published in 2003, nearly

a decade-and-a-half prior to Ms. Weissman’s request for PBRT. The dearth of analyzed and

reviewed scientific literature found in the PBRT Policy pertaining to squamous cell and cervix

carcinomas comes nowhere close to accurately capturing the state of the scientific evidence

surrounding PBRT at the time Ms. Weissman made her request for PBRT in 2016.

       69.     In a letter dated April 13, 2016, UnitedHealthcare sent a “corrected” decision on

the appeal and stated: “We are pleased to inform you that we will process the claim(s) relevant to



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this service(s) accordingly.” But on page two of the letter, UnitedHealthcare clarified that it would

only process the claim for IMRT; that it was not reversing its denial of PBRT. In the letter,

UnitedHealthcare stated that it had requested “a Board-certified independent doctor” who

“specializes in radiation oncology” to review Ms. Weissman’s case and determined that “there is

not enough evidence . . . to show [PBRT] is effective for [her] condition.” UnitedHealthcare

determined that PBRT was “considered unproven under the terms of [the Interpublic Plan].”

       70.     Ms. Weissman and her health care providers were determined and again appealed

UnitedHealthcare’s denial.

       71.     In a letter dated April 22, 2016, UnitedHealthcare expressed its decision to uphold

the denial and explained that the second appeal was reviewed by a medical director, specializing

in obstetrics and gynecology, who concluded: “You have cervical cancer. … We have reviewed

your health plan benefits regarding the use of [PBRT]. Based on the review, there is not enough

medical evidence to show [PBRT] is effective for your condition.”

       72.     Ms. Weissman was in a fight for her life, and neither she nor her health care

providers were willing to surrender to UnitedHealthcare’s unreasonable denial of coverage. In a

letter dated April 27, 2016, Dr. Russo expressed her opinions as to the medical necessity for PBRT

in Ms. Weissman’s case. She explained that Ms. Weissman’s case had been presented to the PBRT

rounds at MGH, which functions as a board to allocate treatment slots for patients, given the

demand for PBRT that greatly exceeds the available supply. Patients are selected for treatment

based on the curative potential of the therapy and benefits of that therapy over other options. The

MGH PBRT rounds authorized PBRT for Ms. Weissman at the next available treatment slot.

       73.     Dr. Russo pleaded with UnitedHealthcare, explaining that Ms. Weissman was “a

30-year-old woman with a curable tumor and a long life ahead of her. Proton therapy is not



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considered to be experimental, investigational or unproven, given there is published data showing

significant dose reductions to nearby organs at risk. There is no reason to put [Ms. Weissman] at

additional risk of toxicity when we have a less toxic modality available.” Dr. Russo was joined as

a signatory on the April 27, 2016, letter by five other board-certified gynecological oncologists or

radiation oncologists from MGH and DFCI. Five of the physicians are professors at Harvard

Medical School, and the other was once named among America’s Top Doctors by Newsweek

magazine.

       74.     UnitedHealthcare referred the appeal for a purported external independent review,

which was handled by AllMed Health Care Management. In an unsigned letter dated May 5, 2016,

AllMed expressed the independent reviewer’s opinion that PBRT in Ms. Weissman’s case was

excluded under the Interpublic Plan as experimental or investigational because “there is not enough

strong clinical evidence to suggest [PBRT] would change the outcome in this case.” The identity

of the independent reviewer was not revealed.

       75.     UnitedHealthcare refused to budge despite pleas on Ms. Weissman’s behalf by

United States Senators Elizabeth Warren and Edward Markey, and Congressman Michael

Capuano.

       76.     UnitedHealthcare chose to rely on the PBRT Policy, the Experimental Exclusion

and the opinions of its medical directors, despite their lack of requisite qualifications and expertise

in medical and radiation gynecology oncology, instead of the opinions of Ms. Weissman’s

esteemed and properly board-certified health care providers.

       77.     Ms. Weissman was forced to incur a $95,000.00 expense for PBRT treatment,

without any assistance from UnitedHealthcare.




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       78.     The PBRT was a tremendous success and Ms. Weissman, now 34 years old, has

been cancer free for three years, a critical mile post in her recovery since the risk of recurrence

drops considerably after two years.

       79.     Ms. Weissman, successful in her fight for life, now pursues this fight for change,

individually and on behalf of the PBRT Class Members, particularly those less fortunate and

unable to bear the economic expense of PBRT treatment, so that UnitedHealthcare’s insured

members suffering with cancer will not have to suffer the extreme and outrageous anxiety and

distress of wrongful coverage denials by UnitedHealthcare, in addition to the crippling cost of

care, at a time when they should be focused on their recovery, not fighting with UnitedHealthcare.

               2.     Richard Cole

       80.     Mr. Cole was born on April 11, 1948 in Miami, Florida. He is the founder and

managing partner of Cole, Scott & Kissane, one of the largest law firms in Florida. Mr. Cole

received his Bachelor of Science degree in Business Administration from the University of Florida

and his Juris Doctor from the University of Florida College of Law. Through his career, Mr. Cole

has remained committed to serving his local community in various leadership roles in civic groups,

such as the United Way of Dade County and Kiwanis Breakfast Club of Miami, as well as

voluntary bar organizations and The Florida Bar.

       81.     Mr. Cole was diagnosed with high risk prostate cancer in April 2018. In May 2018,

Mr. Cole’s radiation oncologist, Dr. Marcio Fagundes of Miami Cancer Institute at Baptist Health

South Florida (“MCI”), recommended that Mr. Cole undergo PBRT as an alternative to IMRT

because, among other things, the likelihood of achieving a better outcome was greater for PBRT.




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       82.     On May 30, 2018, UnitedHealthcare denied Mr. Cole’s request for pre-

authorization of PBRT on the grounds that it fell under the Experimental Exclusion and was

prohibited by the PBRT Policy. In particular, the denial stated that:

               Based on the information submitted, your health benefit plan, and
               our Proton Beam Radiation Therapy Policy Number 2018T0132Y
               Effective Date March 1, 2018 medical policy, we determined that
               the health care services are not covered.

               The services are not eligible for coverage because your plan does
               not cover unproven procedures.

       83.     On July 8, 2018, Dr. Fagundes submitted an internal appeal on Mr. Cole’s behalf,

asking that UnitedHealthcare reconsider its decision to deny coverage or payment for PBRT,

noting that “[t]he patient has a high risk prostate cancer based on the PSA above 20 with Gleason

score 7 (3+4) and clinical stage T1c” Dr. Fagundes noted that PBRT would decrease the risks of

long-term toxicity and second malignancies as a result of radiation therapy.

       84.     UnitedHealthcare denied Mr. Cole’s first appeal.

       85.     On August 13, 2018, Dr. Fagundes submitted a second internal appeal on Mr.

Cole’s behalf, again asking that UnitedHealthcare reconsider its decision to deny coverage or

payment for PBRT.

       86.     By letter dated August 28, 2018, UnitedHealthcare upheld its decision to deny

coverage. UnitedHealthcare stated:

               It was determined that your benefit plan does not pay for this
               service(s). This decision is based on the UnitedHealthcare Proton
               Beam Radiation Therapy Medical Policy and the terms of your plan.

       87.     UnitedHealthcare’s August 28, 2018, letter exhausted Mr. Cole’s internal remedies

available to challenge UnitedHealthcare’s benefits denial. On December 27, 2018, Mr. Cole

formally requested an external review of UnitedHealthcare’s decision to deny his request for PBRT


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to treat his prostate cancer. Thereafter, Mr. Cole filed an external appeal with MRIA, which is

unilaterally selected by UnitedHealthcare and which upheld the denial based on the Experimental

Exclusion and the PBRT Policy.

       88.     On January 7, 2019, Mr. Cole received a letter from MRIA accepting his external

review request and requiring that he submit all pertinent information he wanted considered by the

IRO.

       89.     In compliance with MRIA’s January 7th letter, Mr. Cole, by and through counsel,

wrote to MRIA on January 24, 2019, requesting that UnitedHealthcare’s denial of coverage for

PBRT be overturned. In the letter, Mr. Cole’s counsel included evidence, such as the New 2019

Policy, an updated report from Dr. Fagundes, and documents evincing UnitedHealthcare’s public

support for PBRT in the State of New York, in support of Mr. Cole’s position that PBRT is not

experimental or investigational.

       90.     Dr. Fagundes’s updated report concluded that Mr. Cole has an undetectable amount

of prostate-specific antigen, a result consistent with the efficacy of “combined androgen

deprivation therapy and PBRT.”

       91.     As part of Mr. Cole’s external appeal process with MRIA, Dr. Fagundes wrote

UnitedHealthcare a letter dated January 18, 2019, to support Mr. Cole’s request for coverage. In

the letter, Dr. Fagundes cited to peer-reviewed studies that demonstrate the efficacy of PBRT. Dr.

Fagundes requested that UnitedHealthcare “reconsider approval for proton therapy” and noted that

PBRT “significantly reduces radiation dose to normal rectal, bladder, and uninvolved tissue (10).”

       92.     Dr. Fagundes’s letter also asked that UnitedHealthcare overturn its decision

because of the FDA’s approval of proton therapy on February 22, 1988. He further stated that Mr.




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Cole “meets every criterion as defined by the FDA for appropriateness of use and therefore

designating [PBRT] as experimental is fallacious, inaccurate, and contrary to the public record.”

       93.     Notably, in denying coverage, UnitedHealthcare failed to discuss or even

acknowledge the information provided by Dr. Fagundes supporting PBRT, including the many

studies verifying its safety and efficacy. Thus, UnitedHealthcare provided Mr. Cole with no basis

for its negative coverage determination aside from its reliance – to the exclusion of all contrary

evidence – on UnitedHealthcare’s pre-existing policy that PBRT falls under the Experimental

Exclusion.

       94.     Moreover, despite the substantial support for PBRT provided to MRIA, and

UnitedHealthcare’s change in policy with respect to prostate cancer, on February 4, 2019, MRIA

rejected Mr. Cole’s request for reconsideration of its denial and concluded that PBRT was not

covered. MRIA upheld UnitedHealthcare’s decision to deny coverage of PBRT to Plaintiff under

the old UnitedHealthcare PBRT Policy.

       95.     Notwithstanding UHC’s denial of coverage, Mr. Cole proceeded to have PBRT,

with very positive results. Mr. Cole paid approximately $85,000 for the treatment out-of-pocket.

               3.     Zachary Rizzuto

       96.     Mr. Rizzuto was born on July 11, 1980, and married Melissa (Garlit) Rizzuto on

September 8, 2007. Mr. and Mrs. Rizzuto are well-educated professionals. Mr. Rizzuto obtained

a Bachelor’s Degree in Computer Information Systems from James Madison University. Mrs.

Rizzuto obtained a Bachelor’s Degree in Telecommunications and Mass Media from Temple

University, a Master of Science in Communications from Florida State University, and a doctorate

in Education, Curriculum and Instruction at the University of Florida. They were successful in

finding employment in their chosen fields and established their home in Fort Myers, Florida.



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       97.     In September 2016, Mr. and Mrs. Rizzuto learned that Mrs. Rizzuto was pregnant

with their first child, Roxanne, who was born on May 24, 2017. Life seemed ideal.

       98.     While Mrs. Rizzuto was pregnant with Roxanne, however, Mr. Rizzuto began to

experience absence seizures. He was unaware that he was having seizures but Mrs. Rizzuto would

observe his erratic behavior. An MRI ultimately led to the diagnosis, on August 14, 2017, that

Mr. Rizzuto had brain cancer.

       99.     A brain biopsy surgery, on August 23, 2017, confirmed the diagnosis. While Mr.

and Mrs. Rizzuto were dealing with the adjustments to being first time parents, they were now

forced to confront this life-shattering diagnosis. One week later, Hurricane Irma made landfall in

the Florida Keys and swept across the state, inflicting further damage on Fort Myers, much like

the diagnosis that befell the Rizzuto family.

       100.    Mr. Rizzuto’s treatment plan called for a craniotomy, which was performed on

December 1, 2017, where the oncological surgeon attempted to remove as much of the brain tumor

as possible. On Christmas Eve, December 24, 2017, Mr. Rizzuto unfortunately learned that he

would have to undergo a second craniotomy on January 31, 2018, to remove more of the tumor

because there were some higher grade cancer cells present in the tumor they removed.

       101.    Mr. Rizzuto suffered some cognitive deficits, fatigue, loss of peripheral vision and

other sensory affects as a result of the craniotomies. That is particularly why Mrs. Rizzuto was

encouraged when his radiation oncologist, Robert Lustig, M.D., Chief, Clinical Operations,

Radiation Oncology, and Professor of Clinical Radiation Oncology at the University of

Pennsylvania, recommended PBRT.

       102.    Mr. Rizzuto was diagnosed with anaplastic astrocytoma, a rare malignant brain

tumor. His oncologists believed that Mr. Rizzuto would benefit from PBRT because it was safer



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than traditional radiation and would spare Mr. Rizzuto’s healthy brain tissue on his dominant side.

Traditional radiation would cast a wider sphere of radiation and likely cause too much damage to

healthy brain tissue and diminish long term quality of life. Mr. and Mrs. Rizzuto were concerned

about Mr. Rizzuto experiencing any further neurocognitive deficits. They were all in favor of

proton beam therapy. Mr. Rizzuto’s oncological team submitted a request to UnitedHealthcare for

prior authorization to proceed with the PBRT on February 15, 2018.

       103.    Mr. and Mrs. Rizzuto spent the money to fly to the University of Pennsylvania.

Unfortunately, Mr. Rizzuto learned that UnitedHealthcare had denied coverage while meeting with

the oncological team.

       104.    In a letter dated February 21, 2018, UnitedHealthcare denied coverage for Mr.

Rizzuto’s PBRT based upon the PBRT Policy, and the Experimental Exclusion. Despite the Hertz

Plan requirement that UnitedHealthcare provide its members with scientific or clinical reasons in

the event of an adverse coverage determination, the denial letter ambiguously stated, “the specific

clinical reason for [UnitedHealthcare’s] decision: 9.”

       105.    On February 27, 2018, Dr. Lustig appealed to UnitedHealthcare, stating:

               Proton therapy for brain cancer is a treatment option that involves
               using a focused beam of proton particles to kill diseased, cancerous
               tissues. Capable of delivering precise and higher doses of radiation,
               proton therapy treatment for brain tumors targets tumor cells while
               significantly reducing the damage of healthy tissue surrounding the
               brain. According to the American Society of Radiation Oncology
               “PBRT is neither a new nor an experimental technology for treating
               cancer with radiation: It is approved by the FDA.” …

               The patient is a 37 year old male who has undergone a resection of
               a right temporal anaplastic astrocytoma, IDH mutated. … Proton
               radiation to the tumor bed in the right temporal lobe will avoid any
               radiation to the left temporal lobe including the dominant left
               hippocampus. Hippocampal sparing has all ready [sic] shown to be
               important in maintaining neurocognitive function. Avoiding any
               radiation to the entire left hemisphere will also I [sic] avoid any

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               radiation to the speech center. In my medical opinion proton beam
               radiation is the most appropriate radiation treatment for Mr. Rizzuto.

       106.    Dr. Lustig’s appeal was supplemented on February 28, 2018, by Stephen Bagley,

M.D., Division of Hematology/Oncology, Brain Tumor Center, and Assistant Professor at the

University of Pennsylvania, who stated:

               From my perspective as his treating medical oncologist, I strongly
               support the decision to use proton therapy for this patient, and it is
               my medical opinion that this is the most appropriate treatment for
               him.
               … [P]roton therapy significantly reduces the damage of healthy
               brain tissue surrounding the tumor, is approved by the FDA, and per
               the American Society of Radiation Oncology, is not considered new
               or experimental. In addition, I will be treating Mr. Rizzuto with
               temozolomide concurrently with his radiation …. Thus, in addition
               to the multiple reasons for using protons outlined by Dr. Lustig in
               his letter, the necessity of adding chemotherapy in Mr. Rizzuto’s
               case adds further rationale for using protons in an effort to reduce
               collateral damage to surrounding healthy cells in the brain. In this
               patient who is only 37 years old and has at least several years of
               expected survival …, proton therapy is the preferred treatment to
               minimize the risk of subsequent cognitive impairment that could
               limit his ability to function effectively at his job and as a father and
               husband.

       107.    On March 3, 2018, UnitedHealthcare denied Dr. Lustig’s appeal based upon the

PBRT Policy, the Experimental Exclusion and the opinion of its medical director who specializes

in Family Medicine.

       108.    On March 6, 2018, Mrs. Rizzuto submitted an appeal on Mr. Rizzuto’s behalf. She

pointed out that UnitedHealthcare refused to identify the board-certified radiation oncologist who

allegedly consulted with Dr. Rabun, who is not a board certified radiation oncologist, in concluding

that PBRT was “experimental and investigational or unproven.” Mrs. Rizzuto also noted that the

PBRT Policy provides that, “[b]ecause of these physical properties [of proton beams of radiation],

PBRT may be useful when the target volume is in close proximity to one or more critical structures


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and sparing the surrounding normal tissue cannot be adequately achieved with photon-based

radiation therapy,” and that, “NCCN [National Comprehensive Cancer Network] guidelines state

that when toxicity is a concern during management of brain tumors with either a standard or high

risk for recurrence, proton beam craniospinal irradiation may be considered (2017).” Finally, Mrs.

Rizzuto pleaded with UnitedHealthcare, pointing out that research studies are being published that

extoll the benefits of PBRT in reducing side effects of radiation (and supplying references/links

for those studies), and how PBRT in Mr. Rizzuto’s case would protect him from long term side

effects with “staying focused, thinking critically, accessing short term memory, and applying

intellectual capabilities,” all of which are “critical needs in order to return to his full-time

professional position … and as a father of an infant.”

       109.    In a letter dated March 8, 2018, and a “corrected” letter dated March 9, 2018,

UnitedHealthcare again denied Mrs. Rizzuto’s appeal based upon the PBRT Policy, the

Experimental Exclusion and the opinion of its medical director, this time who specializes in

Internal Medicine.

       110.    The Rizzutos and Mr. Rizzuto’s doctors pleaded with UnitedHealthcare to

reconsider its denial, but on April 10, 2018, UnitedHealthcare stated that “all appeal rights

available with UnitedHealthcare have previously been exhausted,” and that UnitedHealthcare’s

“original determination remains unchanged.” However, the matter was referred to Medical

Review Institute of America (“MRIA”) a so-called Independent Review Organization (“IRO”)-on

April 11, 2018, and on April 13, 2018, MRIA upheld UnitedHealthcare’s denial because Mr.

Rizzuto purportedly “does not meet the UnitedHealthcare policy for Proton Beam Radiation

therapy criteria for coverage of proton beam radiation therapy.”




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       111.    In response to UnitedHealthcare’s serial denials, Mrs. Rizzuto prepared a 32-page

document (not including the table of contents and addendum), dated May 20, 2018, entitled

“Urgent Expedited Request for Reconsideration,” and directed to UnitedHealthcare’s Central

Escalation Unit and copies to a variety of persons at UnitedHealthcare with the ability to step up

and reverse UnitedHealthcare’s wrongful denial. She explained Mr. Rizzuto’s history of “high-

grade brain tumor: anaplastic astrocytoma” that “belongs to a group of brain tumors called

‘gliomas,’” an “aggressive and fast-moving tumor,” “located deep within his temporal lobe, which

is a part of the cortex.” She explained her concern that “[d]amage to the cortex can result in the

person no longer being able to walk, talk, think, speak or remember,” and how “[t]he type of

radiation least likely to damage the surrounding cortex is called proton beam radiation (PBRT).”

She summarized how and why Mr. Rizzuto’s oncology team came to the conclusion that PBRT

was the medically necessary course of treatment and the safer, more effective form of radiation.

Over the course of the 32 pages, Mrs. Rizzuto cogently laid out her husband’s appeal; cited to

another instance where UnitedHealthcare reversed its denial and approved PBRT for treatment of

a member’s glioma; summarized the UnitedHealthcare in-network doctors who endorsed PBRT;

laid out in detail the benefits of PBRT in avoiding brain damage, secondary cancers and other side

effects; cited to recent peer review studies and industry standards and guidelines endorsing the

safety and efficacy of PBRT; and pointed out the flaws in UnitedHealthcare’s denials, using

language from the Hertz Plan and from the PBRT Policy.

       112.    Among the glaring defects Mrs. Rizzuto highlighted in this appeal submission is

that out of 98 articles referenced in the March 2018 version of the PBRT Policy, only one

referenced brain carcinomas. This one article was a study published in 2002, more than a decade-

and-a-half prior to Mr. Rizzuto’s request for PBRT. Even more stunning is that in the very next



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sentence in the PBRT Policy, the Policy acknowledges that the “NCCN guidelines state that when

toxicity is a concern during management of brain tumors with either a standard or high risk for

recurrence, proton beam craniospinal irradiation may be considered (2017).”

        113.    This conclusion of the 2017 updated NCCN guidelines comported with yet another

study published in 2018, and submitted by Mrs. Rizzuto in her 32-page submission to

UnitedHealthcare: Petr, J., et al., Photon vs. proton radiochemotherapy: Effects on brain tissue

volume and perfusion, RADIOTHER. ONCOL. 128(1):121-127 (Jul. 2018) (concluding that proton

therapy may reduce brain-volume loss when compared to photon therapy). The dearth of analyzed

and reviewed scientific literature found in the PBRT Policy pertaining to brain carcinomas comes

nowhere close to accurately capturing the state of the scientific evidence surrounding PBRT at the

time Mr. Rizzuto made his request for PBRT in 2018. For example, although the PBRT Policy

claims to have considered the American Society for Radiation Oncology’s (ASTRO)—an

evidence-based physician specialty society—2017 updates to its radiation treatment guidelines it

blatantly ignores a critical and dispositive update to this guideline. ASTRO updated its model

insurance coverage policy in 2017 detailing additional indications that would underpin a finding

that PBRT would be medically necessary for a given cancer diagnosis, including a statement that

PBRT should be considered medically necessary “in instances where sparing the surrounding

normal tissue cannot be adequately achieved with photon based radiotherapy and is of added

clinical benefit to the patient.”

        114.    Despite listing the 2017 updates to the ASTRO and NCCN guidelines in its PBRT

Policy, UnitedHealthcare appears to have intentionally ignored the conclusions of the medical

community that PBRT was within the scope of the “Generally Accepted Standards of Medical

Practice” for Mr. Rizzuto’s diagnosis.



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       115.    Richard J. Migliori, M.D., Executive Vice President and Chief Medical Officer of

UnitedHealth Group Incorporated, UnitedHealthcare’s parent company, responded on May 24,

2018, acknowledging that “Mrs. Rizzuto expressed concerns regarding the denial of the request

for coverage of proton beam radiation therapy,” “the appeals process, the qualifications of the

physicians involved with the appeals and the UnitedHealthcare (UHC) Medical Policy for Proton

Beam Radiation Therapy (PBRT).” Nonetheless, Dr. Migliori explained how “[u]nproven services

are not covered because of the potential risk of harm,” and that “UHC Medical Policy considers

PBRT unproven and not more effective than standard radiation for treatment of [Mr. Rizzuto’s]

condition.” Although he failed to address the points raised in Mrs. Rizzuto’s 32-page submission,

Dr. Migliori concluded that “a full and fair review process has occurred in your case.”

       116.    After UnitedHealthcare turned its back on them, Mr. and Mrs. Rizzuto swallowed

their pride and started a Go Fund Me page, which raised the $126,000 needed for Mr. Rizzuto to

undergo the prescribed PBRT.

       117.    Today, Mr. Rizzuto’s tumor is currently stable and being re-checked every three

months. He is currently looking for a new job after resigning his position with Hertz Corporation

to focus on reducing stress, healing, and making up for lost time as a new dad.

                     UNITEDHEALTHCARE’S ERISA VIOLATIONS

       118.    As the claims administrator vested with responsibility for making final benefit

determinations, and responsible for interpreting and administering the Plans and similar

UnitedHealthcare plans issued nationwide, UnitedHealthcare is an ERISA fiduciary.

       119.    As an ERISA fiduciary, UnitedHealthcare was required to discharge its duties

consistent with 29 U.S.C. § 1104, which requires (among other things) that it do so “solely in the

interest of the participants and beneficiaries” and for the “exclusive purpose” of “providing



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benefits to participants and their beneficiaries” and paying reasonable expenses of administering

the plan. It must do so with the “care, skill, prudence, and diligence” and in accordance with the

terms of the plans it administers. UnitedHealthcare violated all of these requirements.

        120.   UnitedHealthcare violated these duties when it drafted, implemented and applied

the PBRT Policy, because UnitedHealthcare relied upon outdated evidence, ignored evidence

indicating that PBRT was not experimental, and unreasonably concluded that PBRT was

“experimental, investigational or unproven.” UnitedHealthcare then compounded that breach of

duty by relying upon the PBRT Policy to deny insurance claims submitted by Plaintiffs and the

PBRT Class Members in contravention of the terms of the Plans.

        121.   In some areas of the United States, the cost to administer PBRT far exceeds the cost

for traditional IMRT for the same condition; the cost for PBRT can be double that of traditional

IMRT.

        122.   Nonetheless, upon information and belief, UnitedHealthcare applied the PBRT

Policy in Plaintiffs’ case so as to not establish a precedent of covering PBRT only in areas where

the cost of PBRT was comparable to traditional IMRT.

        123.   UnitedHealthcare did not act “solely in the interests of the participants and

beneficiaries” when it denied coverage for PBRT.          Rather, upon information and belief,

UnitedHealthcare denied coverage for PBRT to treat cancer because, on average, PBRT is

significantly more expensive than traditional IMRT or other treatments.

        124.   In violating its fiduciary duties, UnitedHealthcare elevated its own interests above

the interests of plan participants and beneficiaries, reflecting its conflict of interest when

determining whether to cover PBRT. By drafting, implementing, and applying its PBRT Policy,

UnitedHealthcare sacrificed the interests of insureds like Plaintiffs and the PBRT Class so that it



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could artificially decrease the number and value of claims it was required to pay from its own

assets (i.e., with respect to fully insured plans and self-funded plans with stop loss provisions

requiring UnitedHealthcare to cover benefits above a certain threshold) and the assets of its

employer-sponsor customers (i.e., with respect to other self-funded plans); moreover, by

prioritizing the assets of its employer-sponsor customers, UnitedHealthcare also advanced its own

interests in retaining and expanding its business with such customers.

                               CLASS ACTION ALLEGATIONS

       125.    The proposed PBRT Class meets the requirements of Federal Rules of Civil

Procedure 23(a) and 23(b).

               The Class

       126.    Plaintiffs bring their claims on their own behalf and on behalf of the PBRT Class,

and pursuant to Rule 23(b)(1), (b)(2), and/or (c)(4). Plaintiffs seek certification of a nationwide

“PBRT Class,” defined as:

       All persons covered under ERISA-governed plans, administered or insured by
       UnitedHealthcare, whose requests for PBRT were denied at any time within the applicable
       statute of limitations, or whose requests for PBRT will be denied in the future, based upon
       a determination by UnitedHealthcare that PBRT is not medically necessary or is
       experimental, investigational or unproven.

       127.    Excluded from the PBRT Class are: (a) Defendant, including any entity or division

in which Defendant has a controlling interest, as well as its agents, representatives, officers,

directors, employees, trustees, and other entities related to, or affiliated with Defendant, (b) Class

Counsel, and (c) the Judge to whom this case is assigned and any members of the Judge’s staff or

immediate family.




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       128.    Plaintiffs and the PBRT Class Members reserve the right under Federal Rules of

Civil Procedure Rule 23(c)(l)(C) to amend or modify the Class to include greater specificity, by

further division into subclasses, or by limitation to particular issues.

               Numerosity

       129.    The potential members of the proposed Class as defined are so numerous that

joinder of all the members of the proposed class is impracticable.

       130.    While the precise number of proposed Class Members has not been determined at

this time, Plaintiffs are informed and believe that there are a substantial number of individuals

covered under plans insured or administered by UnitedHealthcare who have been similarly

affected.

       131.    The Class is ascertainable because its members can be readily identified using

UnitedHealthcare’s claims data. PBRT therapy is described with a discrete set of procedure codes

under the Current Procedural Terminology (“CPT”) promulgated by the American Medical

Association. Accordingly, Class Members can be readily and objectively ascertained through use

of records maintained by UnitedHealthcare.

       132.    Finally, Class members are dispersed geographically throughout the United States,

such that joiner of all members is impracticable.

               Predominance of Common Issues.

       133.    This action satisfies the requirements of Fed. R. Civ. P. 23(a)(2) and 23(b)(3)

because questions of law and fact that have common answers predominate over questions affecting

only individual Class Members. These include, without limitation:

       a. Whether PBRT therapy is an “experimental or investigational” service or treatment;

       b. Whether UnitedHealthcare acted as an ERISA fiduciary when it created or developed
          the PBRT Policy;

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       c. Whether Class Members’ claim denials were based in whole or in part on the PBRT
          Policy;

       d. Whether UnitedHealthcare categorically applied the PBRT Policy to deny coverage to
          Class Members;

       e. Whether the creation, development, implementation, and application of the PBRT
          Policy constituted a violation of ERISA;

       f. Whether Class Members are entitled to the relief sought if Plaintiffs establish liability.

               Typicality

       134.    Plaintiffs’ claims are typical of the claims of the proposed class. Plaintiffs are each

beneficiaries of an ERISA plan administered by UnitedHealthcare, they each submitted a claim

for coverage of PBRT for treatment of cancer, and, like other Class members, UHC denied their

claim based on the PBRT Policy. Plaintiffs and all members of the Class are similarly affected by

UnitedHealthcare’s wrongful conduct.

               Adequacy of Representation

       135.    Plaintiffs will fairly and adequately represent and protect the interests of the

members of the proposed class. Counsel who represent Plaintiffs are competent and experienced

in litigating large and complex class actions.

               Superiority of Class Action

       136.    This action satisfies the requirements of Fed. R. Civ. P. 23(b)(1) because the

prosecution of separate actions by individual Class members would create a risk of inconsistent or

varying adjudications that could establish incompatible standards of conduct for UnitedHealthcare

with respect to its application of the PBRT Policy and the administration and review of requests

for pre-authorization or reimbursement of PBRT for the treatment of cancer.




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        137.    This action satisfies the requirements of Fed. R. Civ. P. 23(b)(2) because by

applying a uniform policy to deny PBRT as “experimental,” “investigational,” or “unproven,”

UnitedHealthcare has acted and refused to act on grounds that apply generally to the Class, thereby

requiring the Court’s imposition of uniform relief to ensure compatible standards of conduct

towards Class members, and making final injunctive relief or corresponding declaratory relief

appropriate respecting the proposed Class as a whole.

        138.    The conduct of this action as a class action presents far fewer management

difficulties, far better conserves judicial resources and the parties’ resources, and far more

effectively protects the rights of each Class member than would piecemeal litigation. Compared

to the expense, burdens, inconsistencies, economic infeasibility, and inefficiencies of

individualized litigation, the challenges of managing this action as a class action are substantially

outweighed by the benefits to the legitimate interests of the parties, the court, and the public of

class treatment in this court, making class adjudication superior to other alternatives, under Fed.

R. Civ. P. 23(b)(3)(D).

        139.    Plaintiffs are unaware of any difficulties that are likely to be encountered in the

management of this action that would preclude its maintenance as a class action.

                                    FIRST CLAIM FOR RELIEF
                              For Declaratory Relief, Injunctive Relief
                          and Other Equitable Relief, and Attorneys’ Fees
                           on behalf of the Plaintiffs and the PBRT Class
                                     (29 U.S.C. §§ 1132(a)(3), (g))
                              (as to the UnitedHealthcare Defendants)

        140.    Plaintiffs incorporate by reference each and every one of the preceding paragraphs

as if fully stated herein.

        141.    As set forth herein, Plaintiffs and the PBRT Class are participants in or beneficiaries

of health benefit plans administered or underwritten by UnitedHealthcare and governed by ERISA.

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       142.    UnitedHealthcare acts as an ERISA fiduciary with respect to the administration and

claims decisions of the group health benefit plan it issues to employers, such as the Plans and the

PBRT Class Plans, within the meaning of 29 U.S.C. § 1109(a) and 1002(21)(A). With respect to

these plans, UnitedHealthcare exercises discretionary authority or control respecting management

of the plans, and exercises authority or control respecting management or disposition of the plans’

assets. UnitedHealthcare has the authority, and actually exercises the authority, to fund plans or

administer self-funded plans (like the Plans), make decisions on claims for benefits and appeals

thereof, and to write checks for benefits.

       143.    As an ERISA fiduciary, UnitedHealthcare must act with the utmost prudence and

loyalty in communicating to plan participants and beneficiaries and in administering their claims

under the plan, and must otherwise comply with the requirements of ERISA, and with terms and

conditions of its ERISA plans themselves, in making benefit determinations and processing claims

on behalf of plan participants and beneficiaries.

       144.    As the entity responsible for making medical benefit determinations under the plans

and the PBRT Class members’ similar plans, and responsible for developing internal practices and

policies to facilitate such determinations, UnitedHealthcare is an ERISA fiduciary.

       145.    As an ERISA fiduciary, and pursuant to 29 U.S.C. § 1104(a), UnitedHealthcare is

required to discharge its duties “solely in the interests of the participants and beneficiaries” and

for the “exclusive purpose of providing benefits to participants and their beneficiaries” and paying

“reasonable expenses of administering the plan.” UnitedHealthcare must do so with reasonable

“care, skill, prudence, and diligence” and in accordance with the terms of the plans it administers.

UnitedHealthcare must conform its conduct to a fiduciary duty of loyalty and may not make

misrepresentations to its insureds.



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        146.   UnitedHealthcare violated these duties by adopting, implementing, and applying a

policy to deny coverage for PBRT based on the Experimental Exclusion under its Plans, when

such a finding was contrary to generally accepted practices and to the terms of the Plans. In

particular, prior to the New 2019 Policy taking effect, UnitedHealthcare ignored current evidence,

and widespread acceptance of PBRT as a safe and effective treatment for prostate cancer in

improperly applying the Experimental Exclusion to PBRT.

        147.   In doing so, UnitedHealthcare did not act “solely in the interests of the participants

and beneficiaries” for the “exclusive purpose” of “providing benefits.” UnitedHealthcare did not

utilize the “care, skill, prudence, and diligence” of a “prudent man” acting in a similar capacity.

UnitedHealthcare did not act in accordance with the terms of the Plans and other UnitedHealthcare

plans, all of which contain the Experimental Exclusion.

        148.   Instead, UnitedHealthcare elevated its own interests and those of its corporate

affiliates above the interests of plan participants and beneficiaries. By applying an unreliable and

outdated medical policy to PBRT claims, UnitedHealthcare artificially decreased the number and

value of covered claims thereby benefiting its corporate affiliates at the expense of insureds.

        149.   In some areas of the United States, the cost to administer PBRT far exceeds the cost

for traditional IMRT for the same condition; the cost for PBRT can be double that of traditional

IMRT.

        150.   UnitedHealthcare did not act “solely in the interests of the participants and

beneficiaries” when it denied coverage for PBRT.           Rather, upon information and belief,

UnitedHealthcare denied coverage for PBRT to treat cancer due to its average higher cost

throughout the nation. Although the cost of PBRT may be comparable to traditional IMRT in

some areas, upon information and belief, UnitedHealthcare nonetheless continued and continues



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to apply the PBRT Policy uniformly nationwide so as to not establish a precedent of covering

PBRT only in areas where the cost of PBRT is comparable to traditional IMRT.

        151.    UnitedHealthcare’s decision to implement the New 2019 Policy – without any

recent clinical developments – and acknowledge that PBRT is no longer experimental or

investigational, demonstrates that UnitedHealthcare arbitrarily applied the PBRT Policy prior to

January 1, 2019.

        152.    Plaintiffs and the PBRT Class Members have been harmed by UnitedHealthcare’s

breaches of fiduciary duty because their claims have been subjected improperly to the

Experimental Exclusion, leading to denials of coverage for PBRT, when PBRT is actually a

Covered Health Care Service within the definition of the UnitedHealthcare plans.

        153.    In acting and failing to act as described above, UnitedHealthcare has breached its

fiduciary duties.

                              SECOND CLAIM FOR RELIEF
               For Benefits Due and Clarification of Rights, and Attorneys’ Fees
                        on behalf of the Plaintiffs and the PBRT Class
                               (29 U.S.C. §§ 1132(a)(1)(B), (g))
                                     (as to All Defendants)

        154.    Plaintiffs incorporate by reference each and every one of the preceding paragraphs

as if fully stated herein.

        155.    Under ERISA, UnitedHealthcare must comply with the terms and conditions of its

ERISA plans in making benefit determinations and processing claims on behalf of its insureds.

        156.    As set forth herein, Plaintiffs and the PBRT Class Members were at all relevant

times Plan participants, and members and beneficiaries of the health benefit plans administered by

UnitedHealthcare and governed by ERISA.




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          157.   Under the terms of the Plans and applicable law, UnitedHealthcare was required to

pay for all medically necessary treatment for Plaintiffs and the PBRT Class.

          158.   While covered under the Plans, Plaintiffs and the PBRT Class were entitled to

benefits under the terms and conditions of the Plans, including coverage for PBRT when Plaintiffs

and the PBRT Class Members suffered cancer for which each of their treating providers

determined PBRT was medically necessary.

          159.   UnitedHealthcare improperly denied PBRT for each of the Plaintiffs and the PBRT

Class Members within the applicable limitations period.

          160.   Plaintiffs and the PBRT Class Members performed all duties and obligations

required of each of them under the Plans. Specifically, Plaintiffs and the PBRT Class Members

each complied with the Plans’ requirements regarding submission of claims and exhaustion of all

relevant appeals and grievance procedures, except to the extent that such exhaustion would be

futile.

          161.   To remedy UnitedHealthcare’s wrongful conduct in denying Plaintiffs and the

PBRT Class Members the PBRT recommended by their providers as excluded services pursuant

to UnitedHealthcare’s Experimental Exclusion and PBRT Policy, Plaintiffs seek an order

clarifying that application of that Policy to deny them medically-necessary PRBT violated the

plain terms of the Plans, as regulated by ERISA and implementing regulations incorporated into

the Plans and enjoining UnitedHealthcare from applying the Policy to claims for PRBT in the

future.




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                               REQUEST FOR RELIEF

   WHEREFORE, Plaintiffs and the PBRT Class Members request relief as follows:

As to the First Claim for Relief

1. Certification of the proposed PBRT Class, appointment of Kate Weissman, Richard Cole

   and Zachary Rizzuto to represent the proposed PRBT Class, and designation of Plaintiffs’

   Counsel as Class Counsel;

2. Entry of an injunction ordering UnitedHealthcare to:

           a. Retract its categorical denials of PBRT prior authorization requests and/or

               claims;

           b. Provide notice to all PBRT Class Members who have had prior authorization

               requests or claims for PBRT denied;

           c. Re-evaluate all prior authorization requests or claims for PBRT by Plaintiffs

               and the PBRT Class Members under an ERISA-compliant procedure and,

               where warranted, reimburse Plaintiffs and the PBRT Class Members for

               amounts incurred for PBRT as a result of coverage denials in violation of

               ERISA; and

           d. Account for and disgorge any profits UnitedHealthcare may have realized by

               virtue of its improperly denied claims and violations of ERISA.

As to the Second Claim for Relief

3. An Order awarding Plaintiffs and the PBRT Class Members the amounts owed to them for

   PBRT;

4. In the alternative, entry of an injunction ordering UnitedHealthcare to:




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          a. Retract its categorical denials of PBRT prior authorization requests and/or

              claims;

          b. Provide notice to all PBRT Class Members who have had prior authorization

              requests or claims for PBRT denied;

          c. Re-evaluate all prior authorization requests or claims for PBRT by Plaintiffs

              and the PBRT Class Members under an ERISA-compliant procedure and,

              where warranted, reimburse Plaintiffs and the PBRT Class Members for

              amounts incurred for PBRT as a result of coverage denials in violation of

              ERISA; and

          d. Account for and disgorge any profits UnitedHealthcare may have realized by

              virtue of its improperly denied claims and violations of ERISA.

As to Both Claims for Relief

5. An Order that UnitedHealthcare create a common fund from which it will make payment

   of any unpaid benefits, with interest, owed Plaintiffs and the PBRT Class Members;

6. Such other equitable and remedial relief as the Court may deem appropriate;

7. Payment of pre-judgment and post-judgment interest as allowed under ERISA;

8. Attorneys’ fees and costs in an amount to be proven, which Plaintiffs and the PBRT Class

   Members are entitled to have paid by UnitedHealthcare pursuant to 29 U.S.C. § 1132(g)(1).




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Dated: May 15, 2020              KATE WEISSMAN; RICHARD COLE and
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                                      Certificate of Service

       I certify that on May 15, 2020, a copy of this document was electronically filed through

the ECF system and will be sent electronically to all persons identified in the Notice of Electronic

Filing, and that paper copies will be sent to those indicated as nonregistered participants.



                                                      /s/ Mala M. Rafik
                                                      Mala M. Rafik




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